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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                         )
                                                  )            8:08CR84
                     Plaintiff,                   )
                                                  )
       vs.                                        )             ORDER
                                                  )
ALLEN W. JENSEN,                                  )
                                                  )
                     Defendant.                   )
       This matter is before the court on the motion to continue by defendant Allen W.
Jensen (Jensen) (Filing No. 38). Jensen seeks a continuance of sixty days of the trial of
this matter which is scheduled for May 12, 2008. Jensen’s counsel represents that Jensen
will file an affidavit wherein Jensen represents that he understands the additional time may
be excludable time for the purposes of the Speedy Trial Act. Upon consideration, the
motion will be granted.


       IT IS ORDERED:
       1.     Jensen's motion to continue trial (Filing No. 38) is granted.
       2.     Trial of this matter is re-scheduled for July 14, 2008, before Senior Judge
Lyle E. Strom and a jury. The ends of justice have been served by granting such motion
and outweigh the interests of the public and the defendant in a speedy trial. The additional
time arising as a result of the granting of the motion, i.e., the time between May 2, 2008
and July 14, 2008, shall be deemed excludable time in any computation of time under the
requirement of the Speedy Trial Act for the reason that defendant’s counsel requires
additional time to adequately prepare the case. The failure to grant additional time might
result in a miscarriage of justice. 18 U.S.C. § 3161(h)(8)(A) & (B).
       DATED this 2nd day of May, 2008.
                                                  BY THE COURT:
                                                  s/ Thomas D. Thalken
                                                  United States Magistrate Judge
